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                                                                   #:1213



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                                 5
                                   Attorneys for HINSHAW &
                                 6 CULBERTSON, LLP
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                                 8                       UNITED STATES DISTRICT COURT
                                 9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                10
                                11 Amy R. Weissbrod, US Patentee,               Case No. 2:23-cv-04381-MEMF-E
                                   Plaintiff California State Bar #87419,
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                                12                                              DECLARATION OF HEATHER L.
                                                 Plaintiff,                     ROSING IN SUPPORT OF
                                13                                              MOTION TO DISMISS PURSUANT
        KLINEDINST PC




                                          v.                                    TO FRCP 12(b)(6)
                                14
                                   LIVE NATION ENTERTAINMENT
                                15 INC., TICKETMASTER, INC., LIVE               Hearing Date:  October 12, 2023
                                   NATION, INC., INSTANT LIVE                   Time:          10:00 a.m.
                                16 CONCERTS, LLC, MLB/MLB                       Judge: Hon. Maame Ewusi-Mensah
                                   ADVANCED MEDIA, INC.,                        Courtroom:     8B
                                17 PHISH/PHISH LIVE, COWAN
                                   LIEBOWITZ & LATMAN, PC,
                                18 HINSHAW & CULBERTSON, LLP,
                                   BAKER BOTTS, LLP, Does I-X,
                                19
                                                 Defendants.
                                20
                                21
                                22        I, Heather L. Rosing, do hereby declare:
                                23        1.     I am an attorney at law duly licensed to appear before all courts in the
                                24 State of California and this Court. I am a lawyer with Klinedinst PC, attorneys of
                                25 record for Defendant, HINSHAW & CULBERTSON, LLP in the above-captioned
                                26 action.
                                27        2.     I have personal knowledge of the following facts and, if called upon as
                                28 a witness, could competently testify thereto, except as to those matters which are
                                                                             1
                                     DECLARATION OF HEATHER L. ROSING IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FRCP
                                                                           12(b)(6)
                               Case 2:23-cv-04381-MEMF-E      Document 22-8     Filed 09/08/23   Page 2 of 2 Page ID
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                                 1 explicitly set forth as based upon my information and belief and, as to such matters,
                                 2 I am informed and believe that they are true and correct.
                                 3        3.     I made several attempts to timely confer with Plaintiff in this case, as
                                 4 required by L.R. 7-4. I sent emails to Plaintiff at the email address listed on her
                                 5 complaint, as well as to the address on file with the California State Bar. My emails
                                 6 are dated August 31, 2023, and September 5, 2023. In them, I asked to talk over the
                                 7 phone and offered specific times for the call. I provided all of my contact
                                 8 information. Plaintiff failed to respond to my attempts to reach her.
                                 9        I declare under penalty of perjury pursuant to the laws of the United States of
                                10 America that the foregoing is true and correct.
                                11        Executed on this 8th day of September, 2023, at San Diego, California
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                                12
                                13
        KLINEDINST PC




                                                                                Heather L. Rosing
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                                     DECLARATION OF HEATHER L. ROSING IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FRCP
                                                                           12(b)(6)
